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UNITED STATES DISTRICT COURT

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vs. ) Case No. 3108 - cr - 00089 4
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DEAN MARTEZE PoRTER, )
)
Defendant. )

REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

The United States of America and the defendant, having both filed a written consent,
appeared before me pursuant to Rule ]], Fed. R. Crim. P. and L. Cr. R. 11. The defendant
entered a plea of guilty to Count(¢) l of the bldictment/lnfer=ma-tien. After cautioning
and examining the defendant under oath concerning each of the subjects mentioned in Rule 11, I

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determined that the guilty plea(¢) was/wisc knowing and voluntary as to di count, and that the
offenses(¢) charged ish¢ supported by an independent factual basis concerning each of the
essential elements of such offense(¢). I, therefore, recommend that the plea(l) of guilty be

accepted, that a pre-sentence investigation and report be prepared, and that the defendant be

adjudged guilty and have sentence imposed accordingly

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UNlTED sTA Es MAGISTRATE JUDGE

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Failure to file written objections to this Report and Recommendation within ten (10) days
from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. 636(b)(])(B).

 

